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                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                        FAYETTEVILLE DIVISION

DOUGLAS and ANGELA MARTIN                                        PLAINTIFFS

v.                         Case No. 15-5051

P.A.M. TRANSPORT, INC, et al.                                    DEFENDANTS

                ORDER SETTING SETTLEMENT CONFERENCE

     This case has been referred to the undersigned for a
settlement conference.    All parties and their lead counsel are
hereby ORDERED TO APPEAR before the undersigned at the U. S.
Federal Building, 35 E. Mountain, Fayetteville, Arkansas, in Room
210 at 9:00 A.M. on February 29, 2016.     An insured party shall
appear by a representative of the insurer with the complete
authority to agree to a settlement up to the policy limits. An
uninsured corporate party shall appear by a representative
authorized to agree to a settlement.     If a public entity is a
party, all of the members of the board of the public entity, or a
quorum of the entity, who have complete authority to agree to a
settlement--or a representative given such authority by the board
members--shall appear.     The complete authority to agree to a
settlement means that the representative must have the authority to
make an independent assessment of the value of the case and
proposed settlement terms as the settlement discussions proceed.

     Each party shall, before arriving at the settlement
conference, ascertain in good faith the best settlement proposal
that such party can make and be prepared, if asked by the
undersigned, to communicate that settlement proposal to the under-
signed in confidence.    If no settlement discussions have taken
place, the court encourages an exchange of demands and offers prior
to the settlement conference.

     Each party shall provide the undersigned via email to at
ELSsettle@arwd.uscourts.gov a concise, confidential settlement
statement no later than one week prior to the scheduled conference.
The statement shall contain a brief statement of the claims and
defenses, a brief statement of the evidence which the party expects
to produce at trial, an itemized statement of damages claimed or
relief sought, and a description of settlement discussions to date.

     The purpose of the settlement conference is to precipitate
settlement of this case, if that is appropriate.      It will be
conducted in such a manner as not to prejudice any party in the
event settlement is not reached.      To that end, all matters
communicated to the undersigned in confidence will be kept
confidential by the undersigned, and will not be disclosed to the
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trial judge. The undersigned, of course, will not serve as the
trial judge in this case.

     At the settlement conference, the parties' counsel shall give
a brief (5 minute) presentation outlining the factual and legal
highlights of their case. Separate caucuses will then be held with
each party and the party's representative(s).

     The request for parties' personal appearance is intended to
increase the efficiency and effectiveness of the settlement
conference by reducing the time for communication of offers and
expanding the ability to explore options for settlement.
     All parties and attorneys are to be aware the settlement
conference will continue until adjourned by the undersigned. The
parties and attorneys should arrange their schedules accordingly.

     If a party has a conflict with the scheduled time, please
promptly notify Gina Hellums, Courtroom Deputy, via email to
ELSsettle@arwd.uscourts.gov or Gina_Hellums@arwd.uscourts.gov. In
the event of settlement prior to the conference date, the court
should be advised by notifying Ms. Hellums, Courtroom Deputy, at
the email addresses above or at (479) 251-1946.

     By motion, for good cause shown, the parties may request to be
excused from the settlement conference requirement set out it this
order. "Good cause" will ordinarily be established by a statement
that the parties have unsuccessfully participated in a private
mediation, and/or that the posture of the case is such that the
parties believe settlement efforts would be futile and the parties
intend to proceed to trial as scheduled. Motions to be excused
from the settlement conference must be filed no later than 30 days
prior to the scheduled conference.

     IT IS SO ORDERED this 2nd day of June, 2015.


                                      /s/Erin L. Setser
                                      HONORABLE ERIN L. SETSER
                                      UNITED STATES MAGISTRATE JUDGE




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